                  UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION
CIN-Q AUTOMOBILES, INC.,         )
et al.,                          )
                   Plaintiffs,   )
        v.                       )
BUCCANEERS LIMITED               )               Case No. 8:13-cv-01592-AEP
PARTNERSHIP and JOHN DOES )
1-10,                            )                     Magistrate Judge
                     Defendants, )                    Anthony E. Porcelli
                                 )
                                 )
TECHNOLOGY TRAINING              )
ASSOCIATES, INC., et al.,        )
                    Intervenors. )

           UNOPPOSED MOTION TO EXTEND RULING DEADLINE
      Plaintiffs Cin-Q Automobiles, Inc. and Medical & Chiropractic Clinic, Inc.,
on behalf of themselves and the Settlement Class (collectively, “Plaintiffs”),
respectfully move to extend the date by which the Court will rule on Defendant
Buccaneers Team LLC’s (“BTL,” and together with Plaintiffs, the “Settling Parties”)
Motion to Dismiss Class Claims for Lack of Article III Standing and Decertify the
Settlement Class (“Motion to Dismiss”) (Dkt. 492) to November 15, 2024 in order
to allow the Parties to continue mediation efforts with the assistance of Magistrate
Judge Sansone. In support of this motion, Plaintiffs state as follows:
      1.     BTL filed its Motion to Dismiss on December 14, 2023. See Dkt. 492.
Plaintiffs and Intervenors Technology Training Associates, Inc. (“Intervenors,” and
together with the Settling Parties, the “Parties”) filed their Oppositions to BTL’s
Motion to Dismiss on December 28, 2023. See Dkts. 505, 506.
        2.    The Court held a hearing on BTL’s Motion to Dismiss on January 19,
2024. See Minute Entry (Dkt. 525). At that hearing, the Court ordered the Parties
to submit supplemental briefing on certain issues raised by BTL’s Motion to
Dismiss. See id.
        3.    On February 20, 2024, BTL filed its supplemental briefing in support
of its Motion to Dismiss. See Dkt. 532. Plaintiffs and Intervenors filed their
responses to BTL’s submission on March 21, 2024 (see Dkts. 536, 537), and BTL
filed its replies to Plaintiffs’ and Intervenors’ submissions on April 26, 2024. See
Dkts. 542, 543.
        4.    On June 17, 2024, the Court held a hearing on BTL’s Motion to
Dismiss, during which the Parties agreed to consider whether to engage in further
discussions to attempt to resolve the outstanding issues, and the Court agreed to
delay its ruling on BTL’s Motion to Dismiss for 28 days. See Clerk’s Minutes (Dkt.
556).
        5.    On July 15, 2024, the Parties filed a Joint Status Report requesting that
the Court refer this matter to Magistrate Judge Sansone for mediation and further
discussions on the outstanding issues. See Joint Status Report (Dkt. 560). The Court
granted the Parties’ request, directed the Parties to coordinate the facilitation of
mediation discussions with Magistrate Judge Sansone’s chambers and stayed its
ruling on BTL’s Motion to Dismiss until September 27, 2024. See Endorsed Order
(Dkt. 563).
        6.    The Parties conferred amongst themselves and with Magistrate Judge
Sansone, and a mediation via Zoom is now set for August 27, 2024, with a second,
in-person mediation being set for November 6, 2024. See Mediation Order (Dkt.

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564). The Parties believe they would benefit from completing the mediation efforts
prior to this Court rendering a decision on BTL’s Motion to Dismiss.

        WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that
the Court defer its ruling on BTL’s Motion to Dismiss until at least November 15,
2024.

Date: August 12, 2024                 Respectfully submitted,
                                      /s/ Ross M. Good
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                                      Class Counsel




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                   LOCAL RULE 3.01(g) CERTIFICATION
      Pursuant to Local Rule 3.01(g), the undersigned hereby certifies that we
conferred with counsel for BTL and counsel for Intervenors by email with respect
to the instant motion and have been informed that counsel for BTL and counsel for
Intervenors do not oppose the relief requested herein.

Date: August 12, 2024                     /s/ Ross M. Good
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                         CERTIFICATE OF SERVICE

       I hereby certify that on August 12, 2024, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, which served all relevant
parties.

Date: August 12, 2024                     /s/ Ross M. Good
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